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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                 Hon. Faith S.      Hochberg

            v.                            Crim. No.      12—453   (FSH)

 YOUNG-KYU PARK,                         CONSENT TO ENTRY OF A
    a/k/a “Oscar,”                       PROTECTIVE ORDER
    a/k/a “Anthony Bak,”
 SOONG-YOUNG PARK,
 HANNA PARK,
 HYEUN-JIN PARK,
    a/k/a “Sharine,”
 JONG-HYEK PARK,
    a/k/a “Sean,”
 HO-MAN LEE,
 SAMUEL H. PARK,
 JONG-HO KIM,
 KAE-WON JFIO,
    a/k/a “Erica,” and
 YOUNG-BAE GU

           The United States, by and through its attorneys,
 Anthony Moscato and Lisa M. Colone, Assistant U.S. Attorneys and
 defendants Young—Kyu Park, a/k/a “Oàcar” and “Anthony Bak” (by
Mark Waecker, Esq., appearing), Soong-Young Park (by Alan Baum,
Esq., appearing), Hanna Park (by Steven Brill, Esq., appearing),
Hyeun-Jin Park, a/k/a “Sharine” (by Christopher L, Patella, Esq.,
appearing), Jong—Hyek Park, a/k/a “Sean” (by Edward J. Plaza,
Esq,, appearing), Ho-Man Lee (by Linwood Allen Jones, Esq.,
appearing), Samuel H. Park (by Donna R. Newman, Esq., appearing),
Jong-Ho Kim (by Vincent James Sanzone , Jr., Esq., appearing),
Kae-Won Jho, a/k/a “Erica” (by Michael P. Koribanics, Esq.,
appearing), and Young—Bae Gu (by Robert Joseph Olejar, Esq.,
appearing), jointly consent to a Protective Order concerning the
disclosure and use of certain evidence in the above-captioned
matter, namely, email communications and associated attachments
and files (hereinafter the “Ernails”), as described in Attachment
A.
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Assistant United States Attorney



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Donna R. Newman, Esq.               —



Attorney for Samuel H.    Park



Vincent James Sarizone, Jr.,     Esq.
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   Consented to:



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  Mark Waecker, Esq.
  Attorney for Younq-Kyu
                             Park



 Alan Baum, Esq.
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Case 2:12-cr-00453-ES   Document 114        Filed 11/28/12   Page 5 of 15 PageID: 370




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 Steven Br     ,   sq.
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  Robert Joseph Olejar, Esq.
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 Michael P. Koribanics, Esq.
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 Robert JosØ’ph O1’jar, Esq.
 Attorney for Young—Bae Gu




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                               ATTACHMENT A

             The United States has represented to counsel for each
   defendant (hereinafter collectively “Counsel”) listed above the
   following: (a) as part of the investigation leading to the
   instant prosecution, search warrants were obtained for three
   email accounts allegedly controlled and used by Young—Kyu Park;
   (b) the execution of these search warrants produced the Ernails;
   (c) the Emails are voluminous in nature, consisting of in excess
  of 3,000 individual ernails, and many of these emails contained
  attachments; (d) the Emails are primarily written in the Korean
  language and contain a significant amount of personally
  identifiable information, such as individuals’ names, dates of
  birth, places of birth, social security numbers, addresses, bank
  account numbers, and routing numbers (hereinafter collectively
  the “Personally Identifiable Information”); and (e) because of
  the voluminous amount of Ernails containing a significant amount
  of Personally Identifiable Information, it is impracticable for
  the United States to redact the Emails before disclosure to
  Counsel.

            Accordingly, the United States and the defendants
  listed above, through Counsel, consent to the entry of a
  Protective Order as follows:

             1.   The United States will expeditiously provide
                  the Emails on compact disc(s), without redactions,
                  to Counsel.  Each compact disc will be labeled:
                  “Restricted Access.” The United States and
                  Counsel further agree that any item or document
                  derived from the compact discs or related to the
                  Emails, including but not limited to translations
                  and summaries, will be treated in accordance with
                  this agreement without need for further labeling.

             2.   The Emails and all information derived therefrom
                  shall be restricted solely for use in litigation
                  in this case and shall not be used for any other
                  purpose, except the United States may use and
                  disclose the information for legitimate law
                  enforcement purposes.

             3.   Use of the Ernails and all information derived
                  therefrom shall be restricted solely to the
                  following individuals:




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                  a.  Counsel for each defendant and the
                  administrative staff of Counsel’s firm, including
                  independent consultants, expert witnesses,
                  investigators, and other parties under the control
                  of such independent consultants, expert witnesses,
                  investigators, provided: (i) these individuals are
                  needed to further the interests of Counsel in this
                  matter; and (ii) these individuals sign the
                  “Agreement to Be Bound by Discovery
                  Confidentiality Order” as set forth in Appendix 5,
                  United States District Court for the New Jersey,
                  Local Rules <see http: //www.nd,uscourts .gov/
                  LocalRules .html>,

                  b,  Each defendant shall have access to the
                  Restricted Access documents only in the
                  presence of his or her counsel.  The defendants
                  shall not be permitted to retain possession of
                  Restricted Access materials, or copies thereof,
                  under any circumstances, unless otherwise ordered
                  by the Court.

            4,    The Emails and all information derived therefrom
                  shall not be copied or published to any person,
                  except to those individuals identified in
                  Paragraph 3a above.

            5.    Counsel shall inform their clients of the
                  potential penalties for violations of this
                  Protective Order contained in Rule 16(d) (2) of the
                  Federal Rules of Criminal Procedure, and that any
                  violation of the Protective Order may be punished
                  as contempt.

            6.    After receipt of materials identified as
                  “Restricted Access,” Counsel may challenge the
                  designation as restricted, based on good cause
                  shown that the defendants’ rights to prepare a
                  defense or to effective representation by Counsel
                  are effectively impeded by the Restricted Access
                  status.

            7.    The Emails and all information derived therefrom
                  shall not be attached to any public filing via the
                  Court’s Case Management/Electronic Case
                  Files/PACER (“CM/ECF/PACER”).  Any filing
                  associated with, referring to, or including as an
                  exhibit the Emails shall be filed under seal
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             8.    During the trial, the United States and Counsel
                   may introduce and use the Emails in accordance
                   with Fed. R. Crim. P. 49.1.

             9.    Immediately after the conclusion of this matter
                    (after acquittal, seçtencing, or the exhaustion of
                   all appeals), Counsel shall return the Emails to
                   the United States Attorney’s Office for the
                   District of New Jersey.

             10.   Nothing on this agreement shall constitute a
                   waiver to request additional discovery, to oppose
                   any discovery request, or to object to the
                   admissibility of any document, testimony, or other
                   information.




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